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From:                                   Christopher Racich <racich@vestigant.com>
Sent:                                   Friday, June 3, 2022 2:47 PM
To:                                     E. Meaghan Clayton; andrew.bodoh@robertslaw.org; Ian Northon; Robin Takens; Jessica
                                        Jolliffe; Heidi E. Siegmund; Scott C. Oostdyk
Cc:                                     Nicole Stoneman
Subject:                                Protocol Production


I will be providing links to counsel for both sides for data that was responsive to the terms of the Protocol in separate
emails. The production will consist of the following:

Data from Lamb01 - Mr. Lamb’s iPhone 13 Pro Max
Data from Lamb02 - Mr. Lamb’s Laptop
Data from Lamb03 - Mr. Lamb’s External Hard Drive
Data from Lamb04 - Mr. Lamb’s Evernote collection

If data was solely responsive to one keyword search set (i.e. Liberty’s or Lamb’s), there will be CSV file with the metadata
for the objects that were responsive, and if available, an AD1 container (created by Exterro's Forensic Imager) that
contains the required forensic version of the data. Those AD1 files can be reviewed with FTK Imager
(https://www.exterro.com/ftk-imager#:~:text=FTK%C2%AE%20Imager%20is%20a,(FTK%C2%AE)%20is%20warranted) or
any standard forensic software. If data was responsive to both Liberty and Lamb search terms, a CSV named
“Combined” is included that shows the metadata for the files that had hits for both set of terms, but the data itself is not
being provided to either counsel.

A link and password will be sent shortly to each respective counsel.

Best,

Christopher


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"If it exists, it can be found" ™


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message from your inbox.




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                                                                                                                       Exhibit E
